Case: 1:18-cv-05369 Document #: 33-2 Filed: 10/15/18 Page 1 of 2 PageID #:585




                          EXHIBIT 2
 1       Case: 1:18-cv-05369 Document #: 33-2 Filed: 10/15/18 Page 2 of 2 PageID #:586
 2   What is GPL archive?
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 4
 5    It contains all GPL related sources and modifications made
 6   by Ubiquiti Networks on original OpenWRT-r18801 sources.
 7
 8   Notes
 9   -----
10
11    * No direct assistance or support will be offered or given when
12   installing, configuring, or using the GPL Archive.
13    * Everything included (source code and data) is released under the
14   terms of the GNU General Public License. For more information on the
15   GNU General Public License, please visit:
16   http://www.gnu.org/licenses/gpl-2.0.txt
17    * This is not a SDK; this is an archive of GPL source code and any
18   modifications made by Ubiquiti Networks as per the GNU GPL
19   requirements.
20
21
